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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS

 IN RE BROILER CHICKEN ANTITRUST                          Case No. 1:16-cv-08637
 LITIGATION

                                                          Hon. Thomas A. Durkin
 This Document Relates To:                                Magistrate Judge Jeffrey T. Gilbert
 Direct Purchaser Plaintiff Action


                                MOTION TO WITHDRAW
                          APPEARANCE OF ELIZABETH R. ODETTE

           Pursuant to Local Rule 83.17, Direct Purchaser Plaintiffs (“Plaintiffs”), by and through

their attorneys, respectfully move this Court for an Order allowing Elizabeth R. Odette to withdraw

as their counsel and request removal from this action’s ECF service list. Plaintiffs will continue

to be represented by W. Joseph Bruckner, Brian D. Clark, and other attorneys in this matter,

therefore, Plaintiffs will not be prejudiced in any way by the withdrawal of Elizabeth R. Odette.


Dated: March 30, 2020                          s/ Elizabeth R. Odette
                                               W. Joseph Bruckner (MN #147758)
                                               Elizabeth R. Odette (MN #0340698)
                                               Brian D. Clark (MN #0390069)
                                               Simeon A. Morbey (MN #0391338)
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                                               Direct Purchaser Plaintiffs Interim
                                               Co-Lead Class Counsel




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                                  CERTIFICATE OF SERVICE

           The undersigned hereby certifies that on March 30, 2020, a copy of the foregoing Motion

to Withdraw was filed electronically and served on all counsel of record via the Court’s CM/ECF

electronic filing system.

                                               /s/ Elizabeth Odette
                                               Elizabeth R. Odette (MN# 340698)
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